             Case MDL No. 3089 Document 1-1 Filed 09/18/23 Page 1 of 13




                     BEFORE THE UNITED STATES JUDICIAL PANEL
                          ON MULTIDISTRICT LITIGATION

IN RE: ORAL                                   )
PHENYLEPHRINE LITIGATION                      )       MDL No. ____
                                              )

                PLAINTIFFS’ BRIEF IN SUPPORT OF THEIR MOTION
           FOR TRANSFER OF ACTIONS PURSUANT TO 28 U.S.C. § 1407 FOR
           COORDINATED OR CONSOLIDATED PRETRIAL PROCEEDINGS

         Pursuant to 28 U.S.C. § 1407 and Rule 6.2 of the Rules of Procedure of the Judicial Panel

on Multidistrict Litigation, Plaintiffs Erin Barton, Sam Gallo, Kimberly Buscaglia, and Francis

Catanese (“Movants”), respectfully submit this brief in support of their Motion for Transfer of

Actions Pursuant to 28 U.S.C. § 1407 for Coordinated or Consolidated Pretrial Proceedings.

         Movants seek transfer and assignment of all pending Actions1 against those companies that

have marketed and sold oral purported decongestants that contain the compound phenylephrine as

listed in the Schedule of Actions,2 as well as any subsequently-filed actions involving similar facts

or claims (“tag-along actions”), to the District of New Jersey, the location of multiple defendants’

headquarters. There are presently at least thirteen substantially similar Actions, filed on behalf of

plaintiffs and proposed nationwide and statewide classes in nine different federal district courts

alleging substantially the same wrongful conduct on the part of the named defendants.

         All Actions involve common questions of law and fact that arise from the defendants’ sale

of oral decongestants containing phenylephrine (“Decongestant Products”) that Plaintiffs allege

defendants knew did not actually work to decongest.




1
  All defined terms have the definitions assigned to them in Plaintiffs’ contemporaneously-filed
transfer motion.
2
    The Schedule of Actions is current as of 2:30 PM ET on September 18, 2023.
           Case MDL No. 3089 Document 1-1 Filed 09/18/23 Page 2 of 13




I.     BACKGROUND

       Phenylephrine is one of two compounds found in nasal decongestant products administered

orally and offered for sale to consumers on store shelves. The other compound is pseudoephedrine.

While pseudoephedrine is an effective decongestant, purchasing products containing it is often

difficult: because pseudoephedrine has been used in illicit methamphetamine laboratories,

consumers are restricted in the amount of it that may be purchased, and products containing

pseudoephedrine usually are placed behind store counters or in locked cabinets, with purchasers

often required to produce identification and leave personal information during each purchase.

Plaintiffs allege that, unknown to consumers, but known to Defendants (marketers of Decongestant

Products purchased by a plaintiff in a pending Action) orally administered phenylephrine is no

more effective than a placebo. In the last year alone nearly $1.8 billion in sales of Decongestant

Products occurred in the United States across more than 250 separate products. Plaintiffs allege

each such sale was deceptive, violated the consumer protection laws of various states, breached

warranties, and was otherwise illegal.

II.    LEGAL STANDARD

       Transfer is appropriate when actions pending in different judicial districts involve similar

questions of fact such that coordinating or consolidating pretrial proceedings would “promote the

just and efficient conduct of such actions.” 28 U.S.C. § 1407. In relevant part, Section 1407

provides as follows:

       When civil actions involving one or more common questions of fact are pending in
       different districts, such actions may be transferred to any district for coordinated or
       consolidated pretrial proceedings. Such transfers shall be made by the judicial panel
       on multidistrict litigation authorized by this section upon its determination that
       transfers for such proceedings will be for the convenience of parties and witnesses
       and will promote the just and efficient conduct of such actions.

Id; see also In re Nifedipine, 266 F. Supp. 2d 1382, 1382 (J.P.M.L. 2003).


                                                 2
            Case MDL No. 3089 Document 1-1 Filed 09/18/23 Page 3 of 13




III.   ARGUMENT

       The Actions, and the many tag-along actions that will follow, are appropriate for Section

1407 transfer because they involve common issues and transfer will benefit the parties, witnesses,

and courts. In short, each case will turn on issues relating to the purported efficacy of the compound

phenylephrine, a question of fact identical across each litigation. Further, the proposed transferee

forum, the District of New Jersey, is uniquely well-situated as a convenient forum: several major

defendants in the Actions have either their global or United States headquarters in the District of

New Jersey, including defendants Reckitt Benckiser LLC (Mucinex products), Kenvue Inc.,

Johnson & Johnson Consumer Companies Inc. (Sudafed and Tylenol products), and Bayer Corp

(Alka-Seltzer products). Several of the other defendants—including GlaxoSmithKline and McNeil

Consumer Healthcare—have their U.S. and/or global headquarters in nearby Pennsylvania—and

McNeil is owned by defendant Kenvue, which, as noted, is headquartered in New Jersey. To the

best of the undersigned’s knowledge every defendant transacts business in the district. Given the

number of defendants located in and around New Jersey and the fact that many witnesses will be

located there, transfer to the District of New Jersey is most appropriate.

              Transfer of These Actions Is Appropriate Under 28 U.S.C § 1407

       Multidistrict litigation “eliminate[s] the potential for conflicting contemporaneous pretrial

rulings by coordinate district and appellate courts in multidistrict related civil actions.” In re

Plumbing Fixture Cases, 298 F. Supp. 484, 491-92 (J.P.M.L. 1968). Multidistrict litigation thus

avoids ‘duplicative discovery; prevent[s] inconsistent pretrial rulings; and conserve[s] the

resources of the parties, their counsel, and the judiciary.” In re Ethicon Physiomesh Flexible

Composite Hernia Mesh Products Liability Litigation, 254 F. Supp. 3d 1381, 1383 (J.P.M.L. June

2, 2017).


                                                  3
               Case MDL No. 3089 Document 1-1 Filed 09/18/23 Page 4 of 13




        Pursuant to 28 U.S.C. § 1407, transfer of actions to one district for coordinated or

consolidated pretrial proceedings is appropriate where: (1) actions pending in different districts

involve one or more common questions of fact, and (2) the transfer of such actions will be for the

convenience of the parties and witnesses and will promote the just and efficient conduct of such

actions. 28 U.S.C. § 1407(a). Consolidation is especially important in multidistrict litigations

where “the potential for conflicting, disorderly [and] chaotic” action is greatest. In re Plumbing

Fixture Cases, 298 F. Supp. at 493. Here, all factors weigh heavily in favor of multidistrict

litigation.

              The Actions Involve Common Fact Issues and Should be Heard Together

        At least thirteen class cases relating to the efficacy and sale of the Decongestant Products

have been filed across the United States. More will almost certainly be filed in the coming days.

Each of the pending complaints makes materially identical allegations, including:

               •   Defendants manufacture and sell oral decongestants containing phenylephrine (the

                   “Decongestant Products”).

               •   The Decongestant Products do not work as decongestants.

               •   Defendants knew that their Decongestant Products do not work as decongestants,

                   and sold them anyway.

               •   Defendants accordingly are liable to plaintiffs and all other purchasers of

                   Decongestant Products.

        The near identity of claims means that any court tasked with resolving one of these lawsuits

would face the same fundamental legal and factual issues across all of these cases. Indeed,

whatever the causes of action technically alleged, resolution of each of the cases filed to date will

likely turn on two basic factual questions: (1) whether the Decongestant Products are no more



                                                   4
           Case MDL No. 3089 Document 1-1 Filed 09/18/23 Page 5 of 13




effective than placebo at providing decongestant relief; and (2) whether Defendants knew or

should have known the Decongestant Products were no more effective than placebo.

       The first of these questions—whether the Decongestant Products are, in fact, ineffectual—

is a pure question of fact that applies to each Defendant’s product(s) and would, on its own, require

centralization of these matters. While sold under different names and by different companies, the

Decongestant Products each purportedly works due to the inclusion of the compound

phenylephrine. Plaintiffs allege that orally-administered phenylephrine is, in fact, no better at

decongesting than a sugar pill. In other words, the core factual inquiry will not be particular to

each Defendant’s product(s), but to the compound on which each product is built. Where the

“parties in all actions are likely to use many of the same experts” and where the actions concern

the same scientific issues, “[c]entralization will minimize duplication of this expert discovery as

well as pretrial motion practice related to expert issues [and will] prevent inconsistent rulings with

respect to class certification.” In re Hair Relaxer Mktg., Sales Pracs., & Prod. Liab. Litig., No.

MDL 3060, 2023 WL 1811836, at *2 (J.P.M.L. Feb. 6, 2023).

        Indeed, the JPML routinely centralizes cases where a question common to the matters is

the efficacy of a drug or medical practice. See, e.g., In re Viagra (Sildenafil Citrate) Prod. Liab.

Litig., 224 F. Supp. 3d 1330, 1332 (J.P.M.L. 2016) (transferring case involving drug with the

“same mechanism” as drug in other action, and noting transfer particularly appropriate where

actions “involve many of the same [scientific] studies.”); In re: Pradaxa (dabigatran etexilate)

Prod. Liab. Litig., 883 F. Supp. 2d 1355 (J.P.M.L. 2012) (consolidating all actions that “share

common questions” about effect of drug); In re Accutane Prod. Liab. Litig., 343 F. Supp. 2d 1382,

1383 (J.P.M.L. 2004) (centralizing actions where all involve common questions relating to the

development of a given drug and defendants’ knowledge of that drug’s effects); In re: Xarelto



                                                  5
           Case MDL No. 3089 Document 1-1 Filed 09/18/23 Page 6 of 13




(Rivaroxaban) Prod. Liab. Litig., 65 F. Supp. 3d 1402, 1404 (J.P.M.L. 2014) (recognizing

necessity for centralization, even in context of personal injury litigation, where issue includes

efficacy and dangerousness of a drug); cf. In re Prac. of Naturopathy Litig., 434 F. Supp. 1240,

1242 (J.P.M.L. 1977) (centralization appropriate where common issue among suits is whether a

given medicinal practice is “beneficial and efficacious.”).

       The second core factual question—whether Defendants knew that the Decongestant

Products were ineffectual—is, likewise, a question of fact subject to common proof. The parties

will almost certainly employ experts not only to explain and contextualize studies regarding the

efficacy of phenylephrine, but also to discuss industry practice and standards that would impact

Defendants’ knowledge of those studies’ content. In short, Plaintiffs are likely to argue that

Defendants would keep up with appropriate scientific research, and accordingly that each

Defendant was necessarily aware that phenylephrine was no more effective in oral form than a

placebo.

       The JPML has recognized that where factual questions relate to industry standards or

common practices, centralization may be appropriate. See, e.g., In re Blackbaud, Inc., Customer

Data Sec. Breach Litig., 509 F. Supp. 3d 1362, 1364 (J.P.M.L. 2020) (whether Defendant’s

practices “met industry standards” was a common question supporting centralization); In re

Commodity Credit Corp. Litig. Involving Grain Shipments (No. 11), 364 F. Supp. 462, 463

(J.P.M.L. 1973) (centralizing over Defendants’ objection where core question was industry

standard for practice impacting litigation). Cf. In re Neo Wireless, LLC, Pat. Litig., 610 F. Supp.

3d 1383, 1385 (J.P.M.L. 2022) (recognizing that where “all defendants are in the same industry

with similarly allegedly infringing products” centralization is warranted, particularly where the

impact of the same “industry standards” relates to the action’s disposition).



                                                 6
             Case MDL No. 3089 Document 1-1 Filed 09/18/23 Page 7 of 13




        These two core factual issues—individually or in combination—compel centralization for

the sake of efficiency and the avoidance of conflicting rulings. In addition, however, other factors

weigh in favor of centralization to promote orderly and consistent resolution of legal and factual

questions.

        First, while a question of law, it should be noted that each case is likely to turn on whether

the claims asserted are preempted by applicable federal law (at all, in whole, or in part). The

possibility of differing rulings in differing jurisdictions risks the needless creation of a circuit split

on a vital legal issue that will likely arise in later cases. Cf. In re BPS Direct, LLC, & Cabela's,

LLC, Wiretapping Litig., No. MDL 3074, 2023 WL 3828643, at *1–2 (J.P.M.L. June 2, 2023)

(centralizing cases, and noting that “several of the actions involve claims under the same statutes

and, as the motions to dismiss filed in several of these cases demonstrate, even motions under

different states’ statutes will present similar issues.”).

        Second, the “common early procedural posture among the actions” should favor

centralization. In re Neo Wireless, LLC, Pat. Litig., 610 F. Supp. 3d 1383, 1385 (J.P.M.L. 2022).

Each of the Complaints at issue was recently filed and has not been subject to pretrial motion

practice, meaning that the transferee court would issue rulings not merely respecting issues of

discovery or class definition, but with respect to, e.g., the viability of any master consolidated

complaint that would ultimately be filed.

        Finally, many claims relating to Defendants’ sales of the Decongestant Products have been

filed, and many more are likely to follow. Such “increased presence of apparently unique counsel,

coupled with the increased number of involved actions, districts, and judges, makes it highly

difficult, if not impossible, to coordinate this litigation effectively on an informal basis.” In re:




                                                    7
           Case MDL No. 3089 Document 1-1 Filed 09/18/23 Page 8 of 13




Lipitor (Atorvastatin Calcium) Mktg., Sales Practices & Prods. Liab. Litig. (No. II), 997 F.Supp.2d

1354, 1356 (J.P.M.L. 2014).

       In short, determination of these and other common issues in a single district will promote

uniform resolution of key questions, reduce costs for parties and witnesses, promote the efficient

prosecution and resolution of the phenylephrine-related cases filed thus far (not to mention likely

tag-along matters) and, consequently, provide speedier and more consistent decisions. Although

multiple defendants are involved, these cases exhibit factual commonalities that have led this Panel

to create multidistrict litigations under circumstances with far more diversity of claims and

defendants. See, e.g., In re Nat’l Prescription Opiate Litig., MDL No. 2804 (J.P.M.L. Mar. 30,

2020) (“Despite some variances among the actions before us, all share a factual core with the MDL

actions: the manufacturer and distributor defendants’ alleged knowledge of and conduct regarding

the diversion of these prescription opiates, as well as the manufacturers’ allegedly improper

marketing of the drugs.”); In re Asbestos Prods. Liab. Litig. (No. VI), 771 F. Supp. 415, 416-17

(J.P.M.L. 1991) (centralizing litigation involving thousands of different products across nearly five

hundred different defendants in light of the “common questions of fact relating to injuries or

wrongful death allegedly caused by exposure to asbestos or asbestos containing products”).

               Transfer will serve the convenience of the parties and witnesses
                and will promote the just and efficient conduct of the Actions

       According to the Manual for Complex Litigation, the following four overlapping factors

govern whether transfer will facilitate the convenience of the parties and promote the just and

efficient conduct of the transferred cases:

               1.      The elimination of duplicative discovery;

               2.      The avoidance of conflicting rules and schedules;

               3.      The reduction of litigation cost; and


                                                 8
            Case MDL No. 3089 Document 1-1 Filed 09/18/23 Page 9 of 13




                4.      The conservation of the time and effort of the parties, attorneys, witnesses,

                        and courts.

Manual for Complex Litigation (Fourth), § 20.131, at 219.

        Each factor weighs clearly in favor of transfer here.

                        a.      Transfer Will Eliminate Duplicative Discovery.

        Because each Action is based upon similar facts, plaintiffs in each of the Actions are, in

turn, likely to seek overlapping discovery. See In re Auto Body Shop Antitrust Litig., 37 F. Supp.

3d 1388, 1390 (J.P.M.L. 2014) (noting that transfer was appropriate to eliminate duplicative

discovery when the actions shared a common factual core). Given this duplicative discovery,

transfer would inevitably conserve the parties’ resources, In re Air Crash at Dallas/Fort Worth

Airport, 623 F. Supp. 634, 635 (J.P.M.L. 1985), particularly in light of this matter’s size: there are

already thirteen cases so far filed in nine Districts spread across eight different states, with those

numbers only set to increase.

                        b.      Transfer Will Avoid Conflicting Rules and Schedules.

        The Panel considers the possibility of inconsistent rulings on pretrial issues because of the

possible res judicata or collateral estoppel effects on other cases. In re Enron Sec. Derivative &

ERISA Litig., 196 F. Supp. 2d 1375, 1376 (J.P.M.L. 2002) (granting transfer in part to prevent

inconsistent pretrial rulings, particularly with respect to questions of class certification).

        Pretrial procedures will necessarily involve motions to dismiss, discovery motions,

Daubert motions, and class certification motions. Conflicting rulings on these motions will cause

unnecessary confusion and duplicative effort. Further, although “only” nine district courts have

cases now, since Defendants essentially comprise every major purveyor or manufacturer of over-

the-counter pharmaceuticals and are alleged to have violated consumer protection statutes through



                                                   9
            Case MDL No. 3089 Document 1-1 Filed 09/18/23 Page 10 of 13




their sale of widely used oral decongestants, that number is likely to increase as more cases are

filed.

                       c.      Transfer Will Reduce Litigation Costs and Conserve the Time
                               and Effort of the Parties, Attorneys, Witnesses, and Courts.

         Each of the Actions, and the many tag-along actions soon to follow, will benefit from

having a single transferee judge address and adjudicate issues related to discovery and pretrial

motion practice. In re PineIntel, 342 F. Supp. 2d 1348, 1349 (J.P.M.L. 2004). Otherwise, courts

and lawyers may be briefing the same issues in several district courts, across several circuits, with

conflicting laws; witnesses may be called to depositions in numerous cases; and third parties may

be called to produce documents and witnesses in several different cases. In other words, “only

through a coordinated pretrial discovery program, tailored to fit the discovery needs of each party

and supervised by a single judge, can overlapping and duplicitous discovery be avoided and the

just and efficient conduct of the litigation assured.” In re Aviation Prod. Liab. Litig., 347 F. Supp.

1401, 1403–04 (J.P.M.L. 1972).




                                                 10
           Case MDL No. 3089 Document 1-1 Filed 09/18/23 Page 11 of 13




           The District of New Jersey Is the Most Appropriate Transferee Forum

               1.      The District of New Jersey Is Home To Multiple Defendants.

       This Panel has recognized that a defendant’s maintenance of corporate headquarters in a

District is one reason to select that district as a transferee forum, because when “defendants

maintain headquarters within the district, [that] implies that relevant documents and witnesses

will likely be found there.” In re Foundry Resins Antitrust Litig., 342 F. Supp. 2d 1346, 1347

(J.P.M.L. 2004).

       Multiple Defendants in the Phenylephrine-related suits have either their global or United

States headquarters in the District of New Jersey, including at least Reckitt Benckiser LLC,

Kenvue Inc., Johnson & Johnson Consumer Inc, and Bayer Corp. At least one of Johnson &

Johnson or Kenvue (formerly Johnson & Johnson’s Consumer Healthcare Division) is named in

nine of the thirteen actions, and Reckitt Benckiser LLC is named in three. Two cases have already

been filed in the District of New Jersey.

       Moreover, each Defendant targeted in multiple complaints does substantial business in

New Jersey. Indeed, due to the high concentration of pharmaceutical companies in and around

New Jersey (beyond even the defendants in this litigation), District of New Jersey courts are

familiar with the issues at play in this matter and well-suited to preside over this pharmaceutical

case. Unsurprisingly, the JPML has transferred multiple cases involving pharmaceutical

companies to the District of New Jersey, including, e.g., In re Insulin Pricing Litig., No. MDL

3080, 2023 WL 5065090, at *3 (J.P.M.L. Aug. 3, 2023); In re Invokana (Canagliflozin) Prod.

Liab. Litig., 223 F. Supp. 3d 1345 (J.P.M.L. 2016); In re Proton-Pump Inhibitor Prod. Liab. Litig.

(No. II), 261 F. Supp. 3d 1351, 1355 (J.P.M.L. 2017); In re Desloratadine Pat. Litig., 502 F. Supp.

2d 1354 (J.P.M.L. 2007).



                                                11
           Case MDL No. 3089 Document 1-1 Filed 09/18/23 Page 12 of 13




               2.      The District of New Jersey Is Convenient Because of Its Central
                       Location.
        The District of New Jersey is also uniquely geographically convenient for this litigation.

With respect to those major company Defendants whose United States or global headquarters are

not in New Jersey, they are largely nearby: Procter & Gamble’s headquarters are in Cincinnati,

Ohio; McNeil Healthcare’s headquarters are in Fort Washington, Pennsylvania; and

GlaxoSmithKline’s U.S. Headquarters are in Philadelphia, Pennsylvania. Many major airports also

serve the District of New Jersey. Newark’s airport alone serves more than 45 air carriers with

nearly 1,200 daily arrivals and departures to domestic and international destinations.3 A number

of other major airports—including in New York City and Philadelphia—are close by. In short, the

district is relatively easy to reach from anywhere in the United States, and most witnesses in these

matters are within a short flight or train ride from the proposed transferee court.

IV.     CONCLUSION

        For the above-stated reasons, Movants respectfully request that the Panel transfer the

Actions set forth on the attached Schedule and all subsequently filed tag-along cases for

coordinated or consolidated pretrial proceedings before a United States District Court in the

District of New Jersey.

Dated: September 18, 2023                             Respectfully submitted,

    /s/James E. Cecchi                                /s/ Adam J. Levitt
    James E. Cecchi                                   Adam J. Levitt
    Donald A. Ecklund                                 John E. Tangren
    Jordan M. Steele                                  Daniel R. Schwartz
    CARELLA, BYRNE, CECCHI,                           DICELLO LEVITT LLP
      BRODY & AGNELLO, P.C.                           Ten North Dearborn Street, Sixth Floor
    5 Becker Farm Road                                Chicago, Illinois 60602
    Roseland, New Jersey 07068                        Telephone: (312) 214-7900

3
  Get Started Sending and Receiving Cargo at Newark, Port Authority of New York and New
Jersey, https://www.panynj.gov/airports/en/air-cargo/newark.html


                                                 12
        Case MDL No. 3089 Document 1-1 Filed 09/18/23 Page 13 of 13




Telephone: (973) 994-1700                        alevitt@dicellolevitt.com
jcecchi@carellabyrne.com                         jtangren@dicellolevitt.com
decklund@carellabyrne.com                        dschwartz@dicellolevitt.com
jsteele@carellabyrne.com

/s/ Christopher A. Seeger                        /s/ Paul J. Geller
Christopher A. Seeger                            Paul J. Geller
David R. Buchanan                                Stuart A. Davidson
Scott A. George                                  ROBBINS GELLER RUDMAN
SEEGER WEISS LLP                                   & DOWD LLP
55 Challenger Road, 6th Floor                    225 NE Mizner Boulevard, Suite 720
Ridgefield Park, New Jersey 07660                Boca Raton, Florida 33432
Telephone: (973) 639-9100                        Telephone: (561) 750-3000
cseeger@seegerweiss.com                          pgeller@rgrdlaw.com
dbuchanan@seegerweiss.com                        sdavidson@rgrdlaw.com
sgeorge@seegerweiss.com


                                    Counsel for Movants




                                            13
